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                                        1   BRETT A. AXELROD, ESQ.
                                                                                                     Electronically Filed April 12, 2022
                                            Nevada Bar No. 5859
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                                        6

                                        7
                                                                     UNITED STATES BANKRUPTCY COURT
                                        8
                                                                               DISTRICT OF NEVADA
                                        9

                                       10   In re                                             Case No. 22-10942-mkn

                                       11           J & J CONSULTING SERVICES, INC.,          Chapter 11
1980 Festival Plaza Drive, Suite 700




                                       12                                Debtor               RECEIVER’S OPPOSITION TO
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP




                                                                                              MOTION FOR APPOINTMENT OF
       (702) 597-5503 (fax)




                                       13
          (702) 262-6899




                                                                                              (A) CHAPTER 11 TRUSTEE EITHER
                                       14                                                     (I) FOR CAUSE UNDER 11 U.S.C.
                                                                                              § 1104(A)(1) OR (II) IN THE BEST
                                       15                                                     INTERESTS OF CREDITORS UNDER 11
                                                                                              U.S.C. § 1104(A)(2) AND FEDERAL
                                       16                                                     RULES OF BANKRUPTCY
                                       17                                                     PROCEDURE 2007.1(A), 2009, AND 9014
                                                                                              AND (B) GAP PERIOD TRUSTEE
                                       18                                                     PENDING ENTRY OF THE ORDER FOR
                                                                                              RELIEF UNDER 11 U.S.C. § 303
                                       19
                                                                                              Hearing Date: April 15, 2022
                                       20
                                                                                              Hearing Time: 10:00 a.m.
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                                        1           Daniel A. Ayala (the “Receiver”), the Receiver of the equity interests of the above captioned

                                        2   alleged debtor and debtor in possession, by and through his counsel, Fox Rothschild LLP, hereby files

                                        3   this Opposition (the “Opposition”) to the Motion for Appointment of (A) Chapter 11 Trustee Either

                                        4   (I) for Cause Under 11 U.S.C. § 1104(a)(1) or (II) in the Best Interests of Creditors Under 11 U.S.C.

                                        5   § 1104(a)(2) and Federal Rules of Bankruptcy Procedure 2007.1(a), 2009, and 9014 and (B) Gap

                                        6   Period Trustee Pending Entry of the Order for Relief Under 11 U.S.C. § 303 (the “Trustee Motion”)

                                        7   [ECF No. 6], filed by Petitioning Creditors Anthony Bonifazio, Keith Ozawa, Janelle Ozawa, and

                                        8   Brian Schumann (the “Petitioning Creditors” or “Movants”).

                                        9           This Opposition is made and based upon the Declaration of Daniel A. Ayala (the “Ayala

                                       10   Declaration”) filed concurrently herewith, the points and authorities set forth below, the papers and

                                       11   pleadings on file with the Court, and any oral arguments the Court may entertain at the hearing on the
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                                       12   Motion.
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                                       13                                                     I.
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                                       14                                STATEMENT OF RELEVANT FACTS

                                       15   A.      The State and District Court Actions

                                       16           1.     On March 16, 2022, Mark A. Murphy (“Murphy”) filed a Complaint (the “State Court

                                       17   Complaint”) against Matthew Beasley (“Beasley”), Beasley Law Group PC (“Beasley Law”), Jeffrey

                                       18   Judd (“Judd”), J and J Purchasing, LLC (“J&J Purchasing”), and J & J Consulting Services, Inc. (“J&J

                                       19   Consulting” or “Alleged Debtor”, and together with J&J Purchasing, the “Alleged Debtors”)

                                       20   (collectively, “State Court Defendants”) in the District Court for Clark County, Nevada (the “State

                                       21   Court”), initiating Case No. A-22-849806-B (the “State Court Case”). A true and correct copy of the

                                       22   Complaint is annexed to the Ayala Declaration as Exhibit 1.

                                       23           2.     On March 21, 2022, Elizabeth Lewis, California Cabinets Distributor, Inc., Paul

                                       24   Maalouf, Fortress Protection, LLC, Brad Maloff, and Better Hitting, Inc. (the “Class Action

                                       25   Plaintiffs”) filed a class action complaint (the “Class Action Complaint”) in the State Court against

                                       26   Wells Fargo Bank, N.A. (“Wells Fargo”), Beasley Law, and Beasley (collectively, the “Class Action

                                       27   Defendants”), initiating Case No. A-22-850036-C (the “State Court Class Action”). A true and correct

                                       28   copy of the Class Action Complaint is annexed to the Ayala Declaration as Exhibit 2.

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                                        1           3.       On March 25, 2022, Barret Henzel, Bryce Bussey, Tina Guilder, and Anthony Guilder

                                        2   (the “District Court Plaintiffs”) filed class action complaint (the “District Court Complaint”) against

                                        3   the same State Court Defendants in the United States District Court District of Nevada (the “District

                                        4   Court”), initiating Case No. 2:22-cv-00529 (the “District Court Case”). A true and correct copy of the

                                        5   Class Action Complaint is annexed to the Ayala Declaration as Exhibit 3. Murphy, the Class Action

                                        6   Plaintiffs, and the District Court Plaintiffs shall be referred to collectively as the “Plaintiffs” and the

                                        7   State Court Defendants and Class Action Defendants shall be referred to collectively as the

                                        8   “Defendants”.

                                        9           4.       The claims asserted in the State Court Complaint, the District Court Complaint, and

                                       10   the Class Action Complaint (collectively, the “Complaints”) stem from the Plaintiffs’ status as

                                       11   defrauded investors in Defendants’ Ponzi scheme (the “Ponzi Scheme”). See Ayala Declaration,
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                                       12   Exhibits 1-3.
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                                       13   B.      Description of the Ponzi Scheme
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                                       14           5.       The Petitioning Creditors set forth the following description of the allegations of the

                                       15   Ponzi Scheme, which generally align with the factual allegations in the State Court Complaint, and

                                       16   upon information and belief, provide a true and accurate representation of the background of the Ponzi

                                       17   Scheme:

                                       18           6.       Upon information and belief, the Ponzi Scheme originated in or around late-2016,

                                       19   when Beasley and Judd agreed to work together to get J&J Consulting into the litigation financing

                                       20   business. See Adversary Complaint, pg 7. Beasley and Judd solicited investors and had them execute

                                       21   bare-bones contracts (the “Investment Contracts”) with the personal-injury plaintiff whose settlement

                                       22   interest was to be purchased, that stated the dollar amount that the investor would be providing to the

                                       23   personal-injury plaintiff. Id. The investors would receive a 25% interest rate for a 90-day advance and

                                       24   were promised a return of 7.5 – 13% in 90 days, with the Alleged Debtors keeping the other half of

                                       25   the profit. Id at 9.

                                       26           7.       Of critical importance to the arguments made in this Motion, Defendants were

                                       27   instructed in the Investment Contracts to wire the investment capital to an Interest on Lawyers’ Trust

                                       28   Account (the “IOLTA Account”) belonging to Beasley Law. Id at 7. It is estimated that approximately

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                                        1   $300 million passed into the IOLTA account from an approximated 150 investors. Id. Unbeknownst

                                        2   to the investors, Beasley and Judd were using funds received from later Investment Contracts to repay

                                        3   earlier investors, along with purportedly making disbursements both personally, and through various

                                        4   other entities. Id. As part of a filing done to persuade the Securities and Exchange Commission that

                                        5   J&J Consulting did not include giving financial advice, J&J Purchasing was formed, and took over

                                        6   the services that were previously provided by J&J Consulting. Id at 11. The Ponzi Scheme was shortly

                                        7   uncovered thereafter, resulting in the arrest of Beasley, and the filing of the Complaints and the

                                        8   Alleged Bankruptcy Cases. Id at 12.

                                        9           8.      In order to avoid burdening the Court with repetition, the Receiver incorporates herein

                                       10   the remaining facts regarding the details of the Ponzi Scheme as set forth in the Trustee Motion. See

                                       11   Trustee Motion, pp. 2-6.
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                                       12   C.      The Appointment of the Receiver
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                                       13           9.      On March 17, 2022, Murphy filed a Petition for Appointment of Receiver (the
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                                       14   “Receiver Petition”) in the State Court Case. A true and correct copy of the Receiver Petition is

                                       15   annexed to the Ayala Declaration as Exhibit 4.

                                       16           10.     On March 30, 2022, the State Court granted the Receiver Petition and entered its Order

                                       17   Appointing Receiver (the “Receivership Order”), appointing Ayala as the Receiver over the State

                                       18   Court Defendants. A true and correct copy of the Receivership Order is annexed to the Ayala

                                       19   Declaration as Exhibit 5. In the Receivership Order, the State Court specifically noted that “Any and

                                       20   all applicable bankruptcy stays or restrictions shall apply to the extent that the same would preclude

                                       21   Receiver’s direct receivership over either or both of [the Alleged Debtors].” See Ayala Declaration,

                                       22   Exhibit 5, p. 2 n.1.

                                       23           11.     Under the Receivership Order, the Receiver has been charged with various duties (the

                                       24   “Receivership Duties”) including, “(a) to marshal all assets from all of the Receivership Companies

                                       25   and trace assets out to any other sources and determine the legitimacy of any transfers/payments…,

                                       26   (d) to take possession of all property…of all the Receivership Companies to the extent necessary to

                                       27   determine where the assets and funds invested by Plaintiff and similarly situated investors, has been

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                                        1   disgorged…, (f) to have all powers vested in the board of directors of each entity….” See Ayala

                                        2   Declaration, Exhibit 5, p.3.

                                        3   D.       The Bankruptcy Procedural History

                                        4            12.   On March 17, 2022, Keith Ozawa, Anthony Bonifazio, Brian Shumann, and Martin

                                        5   Kevin Cordova (collectively, the “Petitioning Creditors”) filed involuntary chapter 11 petitions

                                        6   against J&J Consulting and J&J Purchasing (collectively, the “Alleged Debtors”), initiating the

                                        7   above-captioned Alleged Bankruptcy Case.

                                        8            13.   On March 31, 2022, the Petitioning Creditors filed a complaint (the “Adversary

                                        9   Complaint”) in the Alleged Bankruptcy Case, initiating Adversary Case No. 22-01061 (the

                                       10   “Adversary Proceeding”) [ECF No. 5]. The Adversary Complaint contains twenty-two claims for

                                       11   relief, primarily based on avoiding various alleged fraudulent transfers of real property (the “Real
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                                       12   Property”) and other assets and recovering those assets for the bankruptcy estate. See ECF No. 5, pp.
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                                       13   13-14.
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                                       14            14.   On April 1, 2022, the Petitioning Creditors filed the Trustee Motion, which is set for

                                       15   hearing on April 15, 2022.

                                       16            15.   On April 5, 2022, the Petitioning Creditors filed an Emergency Application to Employ

                                       17   Peter Kravitz as Chief Restructuring Officer (the “CRO Application”) [ECF No. 13], which is set for

                                       18   hearing on April 15, 2022.

                                       19   E.       Actions taken by the Receiver and Petitioning Creditors

                                       20            16.   Since the State Court entered the Receivership Order, the Receiver, pursuant to his

                                       21   controlling equity over the State Court Defendants, has taken substantial actions (the “Receivership

                                       22   Actions”) in furtherance of the Receivership Duties, none of which have been performed for or against

                                       23   property subject to the bankruptcy estates or the Alleged Debtors, including:

                                       24                      a. Investigating the location and disposition of assets properly within the

                                       25                          receivership estate;

                                       26                      b. Negotiating with management of entities subject to the receivership estate to

                                       27                          effectively transfer, convey, assign, or otherwise turn over property;

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                                        1                     c. Establishing a receivership fiduciary account to ensure that monies collected

                                        2                         by the Receiver are properly maintained and managed;

                                        3                     d. Retaining a warehouse and other storage facilities to ensure that personal

                                        4                         property collected on behalf of the receivership estate is properly maintained

                                        5                         and secured;

                                        6                     e. Served Judd, Jennifer Judd, and Paula Beasley with the Receivership Order;

                                        7                     f. Froze Beasley and Judd’s Wells Fargo and US Bank accounts;

                                        8                     g. Negotiated the receipt of two loans for $25,000 and $20,000 respectively, for

                                        9                         purposes of hiring an investigative team and to make loan payments on

                                       10                         property located in South Lake Tahoe to avoid foreclosure or other adverse

                                       11                         action;
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                                       12                     h. Filed a notice of lis pendens on certain properties subject to the receivership
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                                       13                         estate located at 9 Sky Arc Court, Henderson, NV 89012; 8 Twisted Rock,
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                                       14                         Henderson, NV 89012; and 7329 Ravines Avenue, Las Vegas, NV 89131;

                                       15                     i. Filed a motion through State Court counsel to enjoin Judd from exercising any

                                       16                         rights pursuant to his equity interests in the Alleged Debtors, as his equity

                                       17                         interests are subject to the receivership estate; and

                                       18                     j. Filed a motion through State Court counsel for confirmation and clarification

                                       19                         that all actions that Judd is purporting to take in the Alleged Bankruptcy Case

                                       20                         are in contravention of the Receivership Order.

                                       21   See Ayala Declaration, ¶ 9.

                                       22           17.   Additionally, upon information and belief, on April 1, 2022, a notice of lis pendens

                                       23   was filed by the Petitioning Creditors on the below-listed properties (the “Real Property”), which

                                       24   were allegedly purchased from funds derived from the Ponzi Scheme:
                                             Property Address                Parcel No.                     Lis Pendens File Date
                                       25
                                             19 Sky Arc, Henderson, NV       178‐33‐210‐004                 4/1/2022
                                       26    89012
                                             29 Rockstream, Henderson,       178‐33‐213‐010                 4/1/2022
                                       27    NV 89012
                                       28

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                                             8 Twisted Rock, Henderson,        178‐33‐510‐037                      4/1/2022
                                        1
                                             NV 89012
                                        2    9 Sky Arc Court, Henderson,       178‐33‐610‐039                      4/1/2022
                                             NV 89012
                                        3    16 Paradise Valley Court,         190‐08‐612‐003                      4/1/2022
                                        4    Henderson, NV 89052
                                             2143 Via Regina Coeli Street,     129‐02‐410‐074                      4/1/2022
                                        5    Mt. Charleston, NV 89124
                                             5475 Ruffian Road, Las Vegas,     126‐36‐501‐029                      4/1/2022
                                        6
                                             NV 89149
                                        7    Corner of W. Hammer Lane &        126‐36‐501‐017                      4/1/2022
                                             Ruffian Road, Las Vegas, NV
                                        8    89149
                                        9    5485 Ruffian Road, Las Vegas,     126‐36‐501‐030                      4/1/2022
                                             NV 89149
                                       10    Corner of W. Stephen Avenue       126‐36‐501‐031                      4/1/2022
                                             & Ruffian Road, Las Vegas, NV
                                       11    89149
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                                       12    7329 Ravines Avenue, Las          125‐10‐115‐020                      4/1/2022
    Las Vegas, Nevada 89135




                                             Vegas, NV 89131
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                                             4015 Calle Lisa, San Clemente,    060‐231‐23                          4/1/2022
                                             CA
                                       14
                                             2314 E. La Sal Peak Dr., Heber    00‐0021‐1113                        4/1/2022
                                       15    City, UT 84032
                                             2364 E. La Sal Peak Dr., Heber    00‐0021‐1105                        4/1/2022
                                       16    City, UT 84032
                                       17    2394 E. La Sal Peak Dr. Heber     00‐0021‐1104                        4/1/2022
                                             City, UT 84032
                                       18    599 N. Red Mountain Court,        00‐0021‐0348                        4/1/2022
                                             Heber City, Utah 84032
                                       19

                                       20   See Ayala Declaration, ¶ 10.

                                       21                                                      II.

                                       22                                               ARGUMENT

                                       23   A.      There is no Need for a Chapter 11 Trustee because the State Court has Appointed the

                                       24           Receiver and Given Him Broad Powers.

                                       25           Section 1104(a)(1) of the Bankruptcy Code provides:

                                       26                  (a)At any time after the commencement of the case but before
                                                           confirmation of a plan, on request of a party in interest or the United
                                       27
                                                           States trustee, and after notice and a hearing, the court shall order the
                                       28                  appointment of a trustee — (1)for cause, including fraud, dishonesty,

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                                                           incompetence, or gross mismanagement of the affairs of the debtor by
                                        1                  current management, either before or after the commencement of the
                                        2                  case, or similar cause, but not including the number of holders of
                                                           securities of the debtor or the amount of assets or liabilities of the
                                        3                  debtor; or (2) if such appointment is in the interests of creditors, any
                                                           equity security holders, and other interests of the estate, without
                                        4                  regard to the number of holders of securities of the debtor or the
                                                           amount of assets or liabilities of the debtor.
                                        5

                                        6   11 U.S.C. §§ 1104(a)(1) and (2).

                                        7           Here, cause does not exist to appoint a Chapter 11 Trustee because the State Court has already

                                        8   appointed the Receiver, who is a completely independent and disinterested third party charged with

                                        9   the control and management of all of the Defendants. Regardless of whether the automatic stay

                                       10   prevents the Receiver from exercising direct control over the Alleged Debtors’ assets, the Receiver,

                                       11   as the now-appointed controlling equity owner of the Alleged Debtors, is the only party entitled to

                                            make decisions for the Alleged Debtors.
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                                       13           Additionally, the appointment of a Chapter 11 trustee in this Alleged Bankruptcy Case cannot
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                                       14   fully resolve and unwind the Ponzi Scheme. Upon information and belief, all of the $300 million was

                                       15   wired by the defrauded investors to the IOLTA Account owned by Beasley Law, a non-debtor entity

                                       16   that is not in front of this Court. Additionally, as indicated in the Trustee Motion and the Adversary

                                       17   Complaint, it is alleged that disbursements were made from various entities, including Judd and

                                       18   Beasley personally, none of which are in front of this Court. Further, upon information and belief, the

                                       19   Real Property was never owned by the Alleged Debtors and may not be subject to their bankruptcy

                                       20   estates. Thus, even if a Chapter 11 trustee is appointed, the Alleged Debtors will have limited ability

                                       21   to claw back all of the fraudulent and/or preferential payments made to the defrauded investors and

                                       22   may not be able to claw back the Real Property, both of which will be critical in the expeditious

                                       23   resolution of the Ponzi Scheme. The Receiver has been appointed over all of the State Court

                                       24   Defendants, not just the Alleged Debtors, and is the only appointed individual with broad powers to

                                       25   claw back all of the fraudulent and/or preferential payments in order to bring the defrauded investors

                                       26   an expeditious resolution.

                                       27           Lastly, as evidenced above by the Receiver Actions, the Receiver has taken substantial steps

                                       28   to protect the interests of all of the creditors and defrauded investors. The appointment of the Receiver

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                                        1   has effectively halted all of the fraud and gross mismanagement of the Alleged Debtors former

                                        2   management. Therefore, the appointment of a Chapter 11 trustee is inappropriate under the

                                        3   circumstances, and it is in the best interests of the creditors for the Receiver, who has broader powers

                                        4   over all of the Defendants, to manage and control the Alleged Debtor throughout the duration of this

                                        5   Chapter 11 Case.

                                        6   B.       There is No Need for a “Gap” Trustee because the State Court has Appointed the

                                        7            Receiver and Given Him Broad Powers.

                                        8            As properly stated by the Petitioning Creditors in the Trustee Motion, a trustee may be

                                        9   appointed for cause at any time after the filing of an involuntary petition – including during the “gap

                                       10   period” between the filing of the involuntary petition and the court’s entry of an order for relief. The

                                       11   filing of the involuntary petition commences the case and triggers the application of 11 U.S.C. § 1104.
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                                       12   In re Prof’l Acountants Referral Servs., Inc., 142 B.R. 424 (Bankr. D. Colo. 1992).
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                                       13            However, as is also correctly stated in the Trustee Motion, courts have generally appointed
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                                       14   Chapter 11 trustees during the gap period in order to stop gross mismanagement or suspected

                                       15   fraudulent activity.

                                       16            Here, as described more fully above, the Receiver is now in control of the Defendants, and all

                                       17   of the equity interests of the Alleged Debtors. The prior management, who organized and perpetuated

                                       18   the Ponzi Scheme, no longer have any authority to manage the Alleged Debtors. Additionally, the

                                       19   Receiver has taken, and is now taking, substantial steps to protect the creditors and all defrauded

                                       20   investors. Further, lis pendens have been filed against Real Property, effectively preventing further

                                       21   transfer or fraudulent activity, thereby eliminating the need for a Chapter 11 trustee. Therefore, any

                                       22   gross mismanagement or fraudulent activity has ceased in its entirety, and there is no longer a need

                                       23   for a gap trustee with the Receiver in control of the Alleged Debtors’ equity interests.

                                       24   //

                                       25   //

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                                        1                                                       III.

                                        2                                               CONCLUSION

                                        3           For the reasons set forth above, the Receiver respectfully requests that the Court enter an

                                        4   order: (i) denying the Motion in its entirety, and (ii) granting the Receiver such other and further relief

                                        5   as is just and appropriate under the circumstances.

                                        6           Dated this 12th day of April 2022.

                                        7                                                 FOX ROTHSCHILD LLP
                                        8
                                                                                          By:      /s/ Brett A. Axelrod
                                        9                                                       BRETT A. AXELROD, ESQ.
                                                                                                Nevada Bar No. 5859
                                       10                                                       1980 Festival Plaza Drive, Suite 700
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                                       11                                                       Counsel for Daniel A. Ayala, Receiver
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